68a
@

COBPUHA`|'|BN SEBV|BE DDN|PANY`

 

 

 

AP‘] l ALL
- - Transmitta| Number: 6154590
Notlce of Servlce of Process mate Pm.=essed; animus
Primary Contact: Rita |'Viennen
Conseco, lnc.
11825 N. Pennsylvania Street
Carme|, |N 46032
Entity: Bankers Life and Casualty Company
Entity |D Number 2425585
Entity Served: Bankers Life and Casua|ty Company
Tit|e of Action: Linda Jahnke VS\ PUl’ViS F’l’eShEl
Document(s) Type: Summons/Comp|aint
Nature of Action: Conft'act
Court: Chancery Court for the 20’th Judicia| District of Davidson County at NashviE|e,
Tennessee
Case Number: 08~2099-]|1
Jurisdiction Served: Tennessee
Date Served on CSC: 11."03/2008
Answer or Appearance Due: 30 Days
Original|y Served On: CSC
How Serveo|: Certified Mai|
Plaintiff's Attorney: Christopher J. O|iver

615~256-7788

information contained on this transmittal form is for record keeping, noti!ication and fonivarding the attached document(s) it does not
constitute a legal opinion The recipient is responsible for interpreting the documents and taking appropriate action

To avoid potential delay, please do not send your response to CSC
CSC is SAS‘?O Type ll certified for its Ll'tigation Management System
2711 Centervi||e Road Wi|mington, DE 19808 (888) 690-2882 f sop@csoinfo com

   

Case 3:08-cv-01074 Document 1-1 Filed 11/06/08 Page 1 of 16 P.

 

STATE OF TENNESSEE
DEPARTMENT OF COMMERCE AND INSURANCE
500 JAMES ROBER'T SON FARKWAY
NASHVELLE. T'N 3 7243-1 131

October 30, 2008

Bankers Life & Casualty Co CERT!F|ED MA|L

2905 Poston Avenue, % C S C RETURN RECE|PT REQUESTED
Nashvii|e, TN 37203 7008 1830 0000 6980 2073

NA|C # 61263 Cashier # 5428

Fte: Linda Jahnke V\ Bankers Life & Casualty Co

Docket # 08-2099-! l l

To Whom lt lV|ay Concern:

We are enclosing herewith a document that has been served on this department on your behalf in connection with
the above-styled matter

| hereby make oath that the attached Breach Of Contract Comp|aint was served on me on September 29, 2008 by
Linda Jahnt<e pursuant to Tenn\. Code Ann § 56-2-504 or § 56-2-506 A copy of this document is being sent to the
Chancery Court of Davidson County, TN

Brenda C. Meade
Designated Agent
Service of Process

Enclosures

cc: Chancery Court Cterk
Davidson County
One Pub|ic Square, Suite 308
Nashvt|le, Tn 37201

Service of Process 615 532 \5260
Case 3:08-cv-01074 Document 1-1 Filed 11/O6/08 Page 2 of 16 Page|D #: 6

 

 

 

C.ASE FILE NU'MZEER

tit-imitle

LINDA assme 2533 SEP 19 FP'HV _s glasses s semmes LIFE
AsoALTY comm

sTATE oF TENNESSEE
2 0""‘ LTc:)zc.*.rzi.r.. nIsTRIcT

cHANcERY comm WE"]B

PLAINTI FF dmeaebm

 

 

 

To= name mm maness oF nspsnwé§£é§itcitos&;i-§EEH 1
E”RycT q/H,/ 07
_ ¢/ it

*~WMUQ&H

emma LIFE s cAsanTY comm
soc wEsT cascade ptva "`"*."'-_ .......
cHIcAGO. IL 50510

SERVE THRU' .AGENT FOR PROCESS DF SERVICE:

TN DEPT OF COM'MERCE § INS'U'RANCE

500 JAMES RDBERTSON PKWY

NASHVILLE, TN 37243
YOU ARE SUMMONED TO DEFEND A CIVII.. ACTION FIL ED AGAINSI' YOU IN CHANCERY COURT, DAVIDSONCOUNTY,
TENNESSEE.. YOUR DEFENSE MUSI` BE MADE Wl'l'HIN THIR`TY (30] DAYS FROM THE DATE THIS SUMMONS IS
SERVED UPON YOU. YOU MUST FII.E YOUR DEFENSE WITH THE CI..ERK OF THE COURT AND SEND A COPY TO THE
PLAINTIFF'S ATTORNEY AT THE ADDRESS lIS'I`ED BEI. OWl. IF YOU FAIl TO DEFEND THIS AC.TION BY THE ABOVE
DATE, JUDGMENY BY DEFAULT CAN BE RENDERED AGAINST YOU FOR THE RELIEF SOUGHT IN THE COMPLAINT`.

 

 

Attorney for plaintiff or plaintiff iffiling Pro Se: ‘ FILED, ISSUED &ATTE§FED
(Name, address & telephone number'}

Nader‘ Baydoun-»Stephen Knight-Christopher] Oiiver
Baydoun & |<night, PLLC

424 Church Street

FiFth Third Center, Suite §2650

Nashv|l|e, TN 37219-2301

(615) 256-7783

 

Clerk and Master

BVF 2 Metropo|ltan Courthouse
One Pub|ic Square
Nashville, TN 37201

 

- Deputv Cierk & Mas‘l:er
NOTICE OF DISPOSITION DATE

 

 

The disposition date of this case is twelve months from date of filing.. The case must be resolved or set for trial
by this date or it will be dismissed by the Court for failure to prosecute pursuant to TiRl.C.P.. 41.02 and Local Ruie 18

If you think the case will require more than one year to resolve or set for tria|, you must send a |etterto the
Clerk and Master at the earliest practicable date asking for an extension of the disposition date and stating your
reasons Extensions wiil be granted only when exceptional circumstances exist

TO THE SHERIFF: DATE RECEIVED

 

 

Sheer

 

***Submit: one original plus one copy
for each defendant to be served

Case 3:08-cv-01074 Document 1-1 Filed 11/O6/08 Page 3 of 16 Page|D #: 7

 

 

RETURN ON SERVICE OF` SUMMONS

 

l hereby return this summons as follows: (Name of Parry Servod)

 

 

 

 

 

 

iii Scrved - ci NotFound
ci NotSer'ved cl Other
DATE or RETURN: By;

Sheriff/or other authorized person to serve process

RETURN ON SERVICE OF SUMMONS BY MAIL

 

 

 

 

 

 

 

l hereby certify and return that on the day of , 20_, l sent, postage prepaid, by registered return
receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case _
to the defendant , on the _W day of ,20___ l received the
return receipt, which had been signed by on the day of ,
2{)__ Ihe return receipt is attached to this original summons to be filed by the Chanccry Cour‘t Clerl< & Mastcr
Sworn to and subscribed before me on this ___ day of Signature of plaintiff plannist attorney or other person

s 20___ authorized by statute to serve process

Signarure of ____ Notary Pubiic or Deputy Clcrlr

 

M y Comuu`ssion Expircs: .

 

NO'I`ICE OF PERSONAL
PROPER'I`Y EX.EMPTION

 

 

TO THE DEFENDANT{S):

lennessee law provides a four thousand dollar (54,000 DO)
debtor’s equity interest personal property exemption from execution or
seizure to satisfy a judgment li a_judgment should be entered against
you in this action and you wish to claim property as cxempt, you must
file a written list, under oath, of the items you wish to claim as exempt
with the clerk of the eourt. Thc list may be filed at any time and may
be changed by you thereafter as nccessai'y; howevcr, unless it is filed
before the judgment becomes tinal, it will not be effective as to any
execution or garnishment issued prior to the filing of the list Certain

items are automatically exempt by law and do not need to be listed; A]' j ACH
these include items of necessary wearing apparel (clothi‘ng) for yourself RETURN

and your farriin and trunks or other receptacles necessary to contain `

such apparel, family portraits, the family Bible, and school books RECE[P 1-
Should any of these items be seized you would have the right to HERE
recover them It` you do not understand your exemption right or how to (IF APPLICABI_,E)

exercise it, you may wish to seek the counsel of`a lawyer
Mail list to: Clcrk & Master
#2 Metro Courthouse
Nashville TN 37201

Pleasc state tile number on list

 

CERTIFIC.ATION (IF APPLICABLE)

 

l, Cristi Scott, Clerlc & Master of the Chancery Court in the Statc of CRlSTI SCOTT, Clerk & Mastei'
Tennesscc, Davidson County, do certify this to be a true and correct
copy of the original summons issued in this case By:

 

D.C. & M.

 

 

Case 3:08-cv-01074 Document 1-1 Filed 11/O6/08 Page 4 of 16 Page|D #: 8

ZOTH JUDICIAL DISTRICT, DAVIDSON COUNTY ¢?a¢, y ’°/
/ C= t .9

s {.:', ‘f/{,. //.
'Q.':i,§i»i`).~ "5`,>
LINDA JAHNKE, ///\ ’tl’;rj`?:
Piainoii, hay Demaad 12 ace or
V CivilNo: _/)Y" th¢?zv-__/ ______ dr

PURVIS PRESHA and BANKERS
LIFE & CASUALI`Y COMPANY,

'\".

 

Defendants.

Q_Dll_l_’_l_»AM
Linda Jab.nke brings this civil action against Defendants upon the following
grounds:
1. Linda lalinke (“Mrs lahnke”) is a resident of Wayrte County, lennessee
2" Neal .lahnke (“MI. lahnkc” and, collectively With Mrs lahnke, “the
.lahnkes”) is the husband of Linda lahnke.\ He is also a resident of Wayne County

Tennessee and he acted as the authorized representative oers .lahnke at all times

relevant to this lawsuit

3. The Bankers Life & Casualty Company (“Banker'S Lif`e”) is a foreign
corporation licensed to do business in the State of Tennessee lts principle place of
business is 600 West Chicago Averiue, Chicago, Illinois 60610.` lts agent for service of
process is the Commissioner of`the lennessee Departrnent of`Commet‘ce and Insut'ance

At all times relevant to this lawsuit, Defendant Purvis Presha acted as an agent and

employee of Bankers Life.

Case 3:08-cv-01074 Document 1-1 Filed 11/06/08 Page 5 of 16 Page|D #: 9

4. Purvis Pr'esha (“Presha” and, coilectively with Bankers Lif`e, “Def`endants”)
is a resident of Davidson County, ”l`ennessee and is an employee of`Banker's Lif`e At all
times relevant to this lawsuit, Presha was, and held himselfl out as, a bt'oker', agent and
employee of Bariker's Lif`e

5. Defendants ar'e in the business of offering investment services and financial
advice, including selling annuities and other investments

6. ln approximately lone of`2006, the .lahnkes were contemplating the
possibility of moving some of the money Mr‘s. lahnke had invested in her 40 l K
retirement account to investments that would provide more retirement income Mr
lahnl<e communicated with approximately 20 different companies about different
investment vehicles and returns, including Def`endants

7. Def`endants subsequently called the lahnkes and offered them an annuity
with an annual 7% fixed return f'or a term of eight years with an option to renew f`or life if
Mrs .lahnl<e invested a minimum of $350,000 00 with Def`endants (tlie “Banket‘s Life
Annuity") In addition, under the terms of the Banker's Lif`e Annuity proposed by
Def`endants, no principal was to be distributed from the Bankers Lif`e Annuity
Defendants also presented the lahnkes With documents that confirmed the details of the

proposed Bankers Life Annuity.

Case 3:08-cv-01074 Document 1-1 Filed 11/O6/08 Page 6 of 16 Page|D #: 10

8. In November of 2006, Mr’s. .]ahnke signed the papers effecting the 401K
rollover to the Bankers Li fe Annuity promised by Defendants. The \Jahnkes requested
copies of the paperwork that Mrs ]ahnke signed to establish the Banlr;ers Lif`e Annuity
The copies were not provided by Defendants to the lahnkes until after they discovered the
money was not invested as represented by Defendants On information and belief, the
copies subsequently provided by Def`endants were not duplicates of the original papers
signed by Mrs.\ .lalmke at closing

9. Shortly after closing on the Bankers Life Annuity, Mrs ]ahnke received an
annual statement for 2006 showing a balance of$l 75,000 00, which was only halfofthe
money she had_just invested with Defendants

10. Upon receiving the Bankers Life 2006 statement, the Jahnkes immediately
contacted Defendants and inquired as to why the statement indicated only half of the
funds Mrs \Jahnke had invested with Defendants

11. In response to the .Jahnl<es’ inquiry, Defendants claimed that the funds were
initially split into two funds of 3175,000 00 each due to Presha’s own error in processing
the funds and Defendants assured the lahnkes that the funds were combined after the
2006 Bankers Life statement date and invested in the Bankers Life Annuity Det`endants
had offered them Defendants’ explanation of the Banl<ers Life 2006 statement was false

and was offered to the lahnkes to conceal the true facts as to how Defendants had

Case 3:08-cv-01074 Document 1-1 Filed 11/O6/08 Page 7 of 16 Page|D #: 11

invested Mrs .iahnl<e’s funds Def`endants also subsequently provided false
documentation to the lahnkes to support their misrepresentations

12. While Defendants misrepresented the true facts regarding the investments
to the lahnkes, Defendants actually invested Mrs lahnke’s money into two separate
annuities, one for $l 75,000.00 that was accruing interest at a lower rate than the 7%
annual return promised and paid no income, and another one for 5175,000 00 that paid
interest and principal in an amount that was similar to the monthly income promised to
Mrs Jahnke by Dct`endants. Neither of the annuity products was remotely similar to the
Bankers Life Arinuity promised by Defendants

13 Defendants knew or should have known that Mrs Jahnl¢;e’s money was not
invested in the annuity that was promised to the \Iahnkes.

14.. Defendants continued to conceal their misrepresentations and fraud in the
face ofinquiries from the lahnkes_

15. In approximately Decernber of200`7, Mrs lahnke received another annual
Banlcers Life 2007 statement indicating that her Bankers Life Annuity had a balance of
$l 83,000 00

16" After reviewing the December 2007 Bankers Lif`e statement the Iahnl<cs
contacted Bankers Lif'e’s corporate office and eventually learned that Mrs lahnke’s

money was nor invested as promised by Det`endants.

Case 3:08-cv-01074 Document 1-1 Filed 11/O6/08 Page 8 of 16 Page|D #: 12

]7.. Bankers Life representatives subsequently admitted that Defendants sent
Mrs lahnke falsified reports concerning how her funds were invested by Def'endants

18. Defendants promised to mail the Jahnkes a copy of the contract for the
Bankers Lif`e Annuity shortly after the closing but failed to deliver a copy within a
reasonable amount of time

19. Defendants refused to honor the terms of the Bankers Lif`e Annuity as
promised to the .Iahnkes and subsequently returned some of`the funds to l\/lrs .lahnke in
the form of two separate checks totaling $.`524,000.00, which Was less than her original
investment of 3350,000.00

BREACH OF CONI`RACT

20. Mrs Jahnke incorporates all preceding paragraphs herein by reference as if
fully set forth herein

21. lhe Bankers Lif'e Annuity that was offered by Defendants and accepted by
l\/lrs ]ahnke and is a valid, enforceable contract that was supported by adequate

consideration

22. Defendants breached their contract with Mrs Jahni<e by r'eh.rsing to

provide the Banker's Lif`e Annuity promised by Defendants.
23. Det`endants’ actions are the proximate cause of damages to Mrs Jahnke`

24. Defendants are therefore liable to l\/lrs lahnke for breach of contract

Case 3:08-cv-01074 Document 1-1 Filed 11/O6/08 Page 9 of 16 Page|D #: 13

INTENTIONAL MISREPRESENTATION

25. Mrs. Jahnke incorporates all preceding paragraphs herein by reference as if
fully set forth herein

26. Presha told Mrs Jahnl<e that he would provide her with an annuity with a
`7% annual return for a term of`eight years with an option fora lifetime renewal and
provided her with written documentation that supported Def`endants’ proposal These
representations were false Presha knew that these representations were false when he
made them and he intended for Mrs. lahnke to rely upon these misrepresentations.\ Mrs
Jahnke did not know that these representations were false and she relied on them She
was justified in relying on these representations As a result of her reliance on these false
representations she suffered damages

27. Defendants are liable for intentional misrepresentation based upon their
own actions and the actions ofBankcrs Life’s employee or agent, Presha

INTENTIONAL MISREPRESENTATION BY CONCEALMEN'I`

28. Mrs. ]ahnlte incorporates all preceding paragraphs herein by reference as if
fully set forth herein

29. Defendants concealed the fact that they did not invest Mrs .Jahnke’s money
in the Bankers Lif`e Annuity she was offered and accepted Specifically, Mrs. lahnke was
promised an annuity with a 7% annual return for eight years with an option for a lifetime

renewal without distributing any of the annuity’s principal Defendants had a duty to

Case 3:08-cv-01074 Document 1-1 Filed 11/06/08 Page 10 of 16 Page|D #: 14

disclose the true facts due to the fiduciary relationship that Defendants had with Mrs
fahnke and because of Def'endants’ prior misrepresentations Dcfendants intentionally
concealed these facts with the intent to deceive Mr‘s. \Iahnke, even after reasonable
inquiries by the lahnkesi l\/frs. lahnke was not aware of the facts and would have acted
differently ifthe she had known these facts As a result of the concealment and
suppression of these facts, Mrs Jahnke sustained damages

30. Defendants are liable for intentional misrepresentation by concealment
based upon their own actions and the actions of Bankers Lif`e employee and agent, Presha

VIOLATION OF THE CONSUMER PROTECTION ACT

31. Mrs. .lahnke incorporates all preceding paragraphs herein by reference as if
fully set forth herein

32. Mrs.. .lahnke is a consumer within the meaning ofthe `I ennessee Consumer
Protection Act, Tenn Code Ann.\ § 4`7--18-101 er seq.

33. The transactions between these parties involved trade or commerce that Was
within the scope of the lennessee Consurner Protection Act, `I enn. Code Anni. § 4?~18-

lOl et seq

34. Defendants’ actions toward and with respect to Mr's fahnke were unfair and
deceptive acts and practices which are prohibited under the 'Iennessee Consurner
Protection Act, `fenn. Code Ann § 4`7-18-104 subsections (a), (b)(§), (b)(9), (b)(lZ),

(b)(Zl), (b)(22), (b)(2 7) and any other applicable subsection

Case 3:08-cv-01074 Document 1-1 Filed 11/06/08 Page 11 of 16 Page|D #: 15

35. Defendants’ actions toward and with respect to Mr‘s lahnl<e were willful
and knowing violations ofthe Tennessee Consurner Protection Act, lenn\ Code Ann §
4`7-18-101€1‘5€§»

36. Mrs. .lahnke has been damaged as a result of the Def'endants’ unfair and
deceptive trade practices.`

37. Defendants are liable for violations of the fennessee Consurrrer Protection
Act based upon their own actions and the actions of`BankeIs Lif`e employee and agent,
Presha

NEGLIGENCE

38. Mrs lahnke incorporates all preceding paragraphs herein by reference as if
fully set forth herein.

39. Defendants assumed a duty to Mrs. lahnke to handle herl affairs in a
competent and professional manner and for her benefit Def`endants breached this dutyl
In fact, given the circumstances Defendants’ breaches of duty constitute gross negligencell
I`hese breaches were the cause in fact and the proximate cause of damages sustained by
Mr's lahnl<e.

40. Banl<ers Life had the duty to use reasonable care in hiring, retaining and
supervising Presha as theirl employee and agent and in ensuring that the investment
products sold to Mrs lahnke were as representedl Banker's Lif`e breached this duty

Banker's Li fe knew or reasonably should have known ofPresha’s misconduct T`hese

Case 3:08-cv-01074 Document 1-1 Filed 11/O6/08 Page 12 of 16 Page|D #: 16

breaches were the cause in fact and the proximate cause of damages sustained by Mrs.

lahnke.\

BREACH OF FIDUCIARY DUTY

41., Mrs lahnl<e incorporates all preceding paragraphs herein by reference as if

fully set forth hereinl

42.. Def`endants have, by their own actions and by the actions of Bankers Lif`e
employee and agent Presha, assumed the role of a fiduciary with respect to Mrs. .Iahnl<e
l`he .Iahnkes placed their complete trust and confidence in Def`endants expecting them to
invest Mrs lahnke’s funds in the investments they were offered

43. Defendants have breached their fiduciary duty to Mr's lahnl<e by their own
actions with respect to the handling of Mr's. lahnl<e’s investments lhe facts giving rise
to this breach of duty include, but are not limited to:

43.,1 lnvesting funds for Mrs .lahnke that were not as piomised, so that
Defendants could earn money for themselves;

43.2 Concealing the fact the Mrs. \]ahnke’s funds were not invested as
promised;

43.3 Fai]ing to invest Mrs lahnke’s money as promised after they had
assumed the responsibility to do so; and,

4.3.4 Pailing to properly disclose the nature of the relationships between

Presha and Banker's Life,

Case 3:08-cv-01074 Document 1-1 Filed 11/O6/08 Page 13 of 16 Page|D #: 17

44. Defendants also breached their fiduciary duties to Mrsr \Jahnl<e by failing to
provide accurate copies of the Bankers Lif`e Annuity upon request and subsequently
providing falsified documents before and after the Mrs lahnke executed the contract for
the Banl<ers Lif'e Annuity

45. Mrs lahnlce has been damaged as a result of Def`endants’ breach of the
fiduciary duties that they owed to her

VIOLATION OF THE TENNESSEE SECURITIES ACT

46. l\/lrs .]ahnke incorporates all preceding paragraphs herein by reference as if
fully set forth herein

47. Def`endants’ actions, described above, constitute violations of the Tennessee
Securities Act of 1980, lenn Code Ann §§ 48-2-]01 etseq., and the regulations
promulgated thereunder Def`endants are therefore liable to Mrs. lahnl<e for damages
caused by their misconduct, as well as for costs of this suit, including reasonable
attorneys’ fees v

WHER.EFOR_E, Mrs lahnke demands:

]. That process issue against Defendants and that they be required to respond

to this complaint as required by law_

2. That Def`endants be required to provide the Mrs\ lahnl<e with a full

accounting of all the transactions in which the Def`endants were involved on her behalf

,10\.

Case 3:08-cv-01074 Document 1-1 Filed 11/O6/08 Page 14 of 16 Page|D #: 18

3. That a judgment be issued against Def`endants, jointly and severally, for
compensatory damages in an amount not less than $500,000.00

4. lhat a judgment be issued against Defendants, jointly and severally, for
punitive damages, in an amount to be established at trial

5. Ihat Mrs Jahnke be awarded statutory damages as permitted under the
leon essee Consumer' Protection Act, "lenn Code Ann § 4`7-]8-10] er seq , including but
not limited to treble damages for Def`endants’ willful and knowing violation of that act,
attorneys’ fees and costs

6. That Mr's. Jahnke be awarded statutory damages as permitted under the
Tennessee Securities Act ot 1980, ‘I enn. Ccde Ann § 48-2--l01 er seq.\, including but not
limited to statutory damages set out in 'l`enn Code Ann § 48-2-122, and all costs,

including attorneys’ fees

7. `Ihat Mrs .lanl<e be awarded pr e-\ and postjudgment interest

8. That the issues in this action be tried before ajury of twelve as permitted by
law

9. ihat Mrs. Jahnke be awarded such other general and equitable relief as the

Court deems proper

-]]..

Case 3:08-cv-01074 Document 1-1 Filed 11/O6/08 Page 15 of 16 Page|D #: 19

DATED this Hday of`Septernber, 2008.\

Respectfully submitted,

/L; //L.`

Nader Baydoun -- `3077

Stephen C Knight \- 15514
Christopher .l` Oliver 20918
BAYDOUN & KNIGHT, PLLC
Fif`th/Third Center

424 Church Street, Suite 2650
Nashville, Tennessee 372]9-2461
P. (6]5) 256-7`788

P (615) 256~661]

 

Artorneys for the Plar'nrr`jj’Lr`nda .]ahrrke

Case 3:08-cv-01074 Document 1-1 Filed 11/O6/08 Page 16 of 16 Page|D #: 20

